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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,                              Case No. 09-20215

               Plaintiff,                              HONORABLE SEAN F. COX
                                                       United States District Judge
v.

D-2 JOSE CASTRO-RAMIREZ,

            Defendant.
___________________________________/

                            ORDER FOLLOWING HEARING
                     TO RESOLVE POSSIBLE CONFLICT OF INTEREST

       On November 24, 2009, the Government filed its “Motion For Hearing to Conduct

Inquiry Into Joint Representation Pursuant to FED. R. CRIM. P. 44(c)(2)” [Doc. No. 183]. In that

motion, the Government expressed concern that attorney Allen M. Wolf (“Wolf”), who

represents Defendant Dr. Jose Castro-Ramirez (“Castro-Ramirez”) in this action, previously

represented one of Dr. Castro-Ramirez’s current co-defendants in another prior criminal matter

before the Court, Mr. Shafiulla Abdul Hanif (“Hanif”).

       Mr. Hanif was scheduled to appear before the Court on January 23, 2008 for a plea

hearing in the other matter, but failed to appear that day and remains at large despite a bench

warrant being issued for Mr. Hanif’s arrest. [See E.D. Mich. Case No. 07-CR-20091, Doc. No.

27]. Since that time, on June 24, 2009, both Mr. Hanif and Dr. Castro-Ramirez, along with

fourteen additional defendants, were indicted in the instant matter.

         The Government raised the issue that Mr. Wolf’s prior representation of Mr. Hanif may

pose a potential conflict of interest in this case, and requested that the Court set a hearing to


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determine whether there is a potential or actual conflict of interest as a result.

        The Court held hearings on the motion on December 9, 2009 and January 13, 2010.

During those hearings, the Court explored the potential conflicts of interest with the parties. The

Court then addressed the possible conflict of interest issue with Dr. Castro-Ramirez.

        Dr. Castro-Ramirez indicated that he fully understood the issue, had an opportunity to

consult with outside counsel on the issue, had been given adequate time to consider the issue,

and had no questions for the Court. Dr. Castro-Ramirez indicated on the record that, to the

extent any potential conflict of interest still exists, he wishes to waive his right to conflict-free

representation.

        The Court holds that Mr. Hanif has constructively waived his right to object to Mr.

Wolf’s current representation of Dr. Castro-Ramirez. A client’s long delay in voicing an

objection to allegedly adverse representation constitutes an implied waiver of the right to object.

See, e.g., Exterior Sys., Inc. v. Noble Composites, Inc., 210 F.Supp.2d 1062, 1077 (N.D. Ill.

2002); Chem. Waste Mgmt., Inc. v. Sims, 875 F.Supp. 501, 505 (N.D. Ill. 1995). That is

particularly true when trial is imminent - as is the case in this matter. See In re Valley-Vulcan

Mold Co., 287 B.R. 322, 338 (6th Cir. BAP 1999). By absenting himself from the jurisdiction of

this Court, Mr. Hanif has acted in a manner analogous to those cases in which courts have found

constructive or implied waiver. Furthermore, any potential violation of Mr. Hanif’s Sixth

Amendment rights can be obviated simply by Mr. Hanif retaining separate counsel in any future

proceedings in this matter.1



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           The Government has represented to the Court that Mr. Hanif has fled the country. Given this
fact, the possibility that Mr. Hanif will ever be prosecuted in this matter is remote.

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       Accordingly, IT IS ORDERED that the Court hereby finds that a conflict of interest

does not currently exist in this matter as a result of Mr. Wolf’s prior representation of Mr. Hanif.

Moreover, to the extent that any possible potential conflict of interest still exists, the Court finds

that Dr. Castro-Ramirez has made a knowing, voluntary, and informed waiver of his right to

conflict-free representation under the Sixth Amendment. Thus, Mr. Wolf may continue to

represent Dr. Castro-Ramirez in this matter.

       IT IS SO ORDERED.


                               s/Sean F. Cox
                               Sean F. Cox
                               United States District Judge

Dated: January 14, 2010

I hereby certify that a copy of the foregoing document was served upon counsel of record on
January 14, 2010, by electronic and/or ordinary mail.

                               s/Jennifer Hernandez
                               Case Manager




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